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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA                             )
                                                     )      No. 19-cr-00250-PB
                v.                                   )
                                                     )
CRYSTAL HARDY ET AL.                                 )


        GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION IN LIMINE
                REGARDING CODEFENDANT STATEMENTS

        The United States of America, by Scott W. Murray, United States Attorney for the

District of New Hampshire, responds as follows to the Defendant’s Motion in limine regarding

Codefendant Statements (ECF No. 67). The Government agrees not to introduce the oral

statements by Mr. Kelly that Defendant seeks to exclude in its motion, with only four exceptions.

The Government seeks to introduce only select information from each of the following four of

Mr. Kelly’s statements that are identified in Defendant’s motion, and will address each in turn:

    •   Statement c.: Ms. Hardy was planning to sell the guns located in the vehicle because she

        was with Mr. Kelly and no longer needed guns for protection.

    •   Statement d.: Mr. Kelly had 1.5 grams of “dope” in the vehicle but did not know anything

        about the money found in the car.

    •   Statement g.: Methamphetamine has been “hard to get recently.”

    •   Statement h.: Mr. Kelly and Ms. Hardy were getting their methamphetamine from Jared

        Stottlar.

        Because the Court’s ruling on this issue affects whether the parties may seek to move for

a severed trial, the Government respectfully requests a ruling on Defendant’s motion and the

issues raised below prior to trial.
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   1. Mr. Kelly’s Statement that Ms. Hardy Was Planning to Sell the Guns Located in the
      Vehicle Because She Was Receiving Protection from Mr. Kelly

       The Government acknowledges that Mr. Kelly’s statement that Ms. Hardy was planning

to sell the guns located in the vehicle pins the gun ownership plainly onto Ms. Hardy. Though

Ms. Hardy is not legally prohibited from owning a gun, or charged with a gun crime, the

Government does not intend to elicit this part of Mr. Kelly’s statement.

       Instead, the Government intends to elicit only the information in the statement that Mr.

Kelly believed that Ms. Hardy did not need her own guns, because she had him for protection.

The Government would seek to introduce this evidence to show Mr. Kelly’s state of mind: that

he believed that he was protecting Ms. Hardy. The statement is not facially inculpatory to Ms.

Hardy, or to Mr. Kelly; it is only inculpatory to Mr. Kelly in combination with other evidence in

the record, and the government’s theory of the case that his role in the conspiracy was providing

protection to Ms. Hardy. Admission of such a statement does not violate Bruton. See Brown v.

Maloney, 267 F.3d 36, 42 (1st Cir. 2001) (upholding Massachusetts Supreme Judicial Court’s

opinion finding codefendant’s statement admissible against other codefendant, reasoning that

“[a] codefendant's statement which becomes incriminating ‘only when linked with evidence

introduced later at trial,’ [] generally does not offend the Sixth Amendment, so long as an

adequate limiting instruction is given); U.S. v. Celestin, 612 F.3d 14, 20 (1st Cir. 2010)

(confrontation clause not violated by admission of codefendant’s confession in conspiracy case,

because it did not reference defendant nor implicate defendant).

       Here, the Government can easily and effectively elicit only the above-described

information, and not Mr. Kelly’s statements about Ms. Hardy’s gun ownership, by asking a



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direct question of its witness, DEA Agent Galen Doud, about what Mr. Kelly said regarding the

his belief that he provided protection to Ms. Hardy.


   2. Mr. Kelly’s Statement that “Dope” Found in the Vehicle Belonged to Mr. Kelly, But
      Did Not Know Anything about Money Found in the Vehicle

         The Government acknowledges that Mr. Kelly’s statement that he did not know anything

about money found in the car shifts responsibility for the money onto Ms. Hardy. The

Government does not intend to elicit this part of Mr. Kelly’s statement.

         Instead, the Government intends to elicit only the information in the statement that Mr.

Kelly possessed 1.5 grams of “dope” in the vehicle. This statement is not inculpatory to Ms.

Hardy in any sense contemplated by Bruton. Indeed, it is not facially inculpatory as to any

count of the indictment. It is instead being offered by the Government to show Mr. Kelly’s

knowledge of the items of drug distribution found in the same bag in which his fentanyl was

found.

         As with the first statement, the Government can easily and effectively elicit only the

above-described information, and not Mr. Kelly’s statements about the money in the car, by

asking a direct question of its witness, DEA Agent Galen Doud, about what Mr. Kelly said

regarding the fentanyl in the vehicle.


   3. Mr. Kelly’s Statement that Methamphetamine Has Been “Hard to Get Recently”

         Defendant does not assert that this statement poses a Bruton problem, and it does not.

Defendant instead only asserts that it is irrelevant because it occurs outside the timeframe of the

charged conspiracy. It is relevant to the crimes charged because it shows Defendant Kelly’s

knowledge of the methamphetamine market, and supports that he has been looking to buy

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methamphetamine. His statement was made on July 26, 2020, and the term “recently” is vague

enough to encompass the latter part of the charged conspiracy. Even if the Court finds the

statement to regard events postdating the time of the conspiracy, the statement may still be

admitted: “Evidence of a conspirator's post conspiracy activity is admissible if probative of the

existence of a conspiracy or the participation of an alleged conspirator, ‘even though they might

have occurred after the conspiracy ended.’” United States v. Fields, 871 F.2d 188, 197 (1st

Cir.1989) (quoting Anderson v. United States, 417 U.S. 211, 219 (1974)).


   4. Mr. Kelly’s Statement that He and Ms. Hardy Were Getting Methamphetamine
      from Jared Stottlar

       The Government acknowledges that Mr. Kelly’s statement that he and Ms. Hardy were

getting methamphetamine from Jared Stottlar directly inculpates Ms. Hardy, and is subject to

Bruton. The Government does not intend to elicit that Mr. Kelly said Ms. Hardy was buying

methamphetamine from Mr. Stottlar.

       Instead, the Government seeks only to elicit the information that Mr. Kelly admitted he

was buying methamphetamine from Mr. Stottlar. As with the first statement, the Government

can easily and effectively elicit only this information, and not Mr. Kelly’s statements about Ms.

Hardy, by asking a direct question of its witness, DEA Agent Galen Doud, about what Mr. Kelly

said about where he (not Ms. Hardy) gets methamphetamine. Because this is not a written

statement, it will not implicate an issue such as that raised by Gray v. Maryland, 523 U.S. 185,

188, 118 S.Ct. 1151, 140 L.Ed.2d 294 (1998) holding that the Bruton issue was not resolved

where defendant's name has been replaced by a blank space or redaction symbol. Here, DEA

Agent Galen Doud would not mention Ms. Hardy’s name at all.


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       For all of the above reasons, the Government respectfully requests that the above

statements, as modified, be admitted.


Dated: February 25, 2021                           Respectfully submitted,

                                                   SCOTT W. MURRAY
                                                   United States Attorney

                                             By:    /s/ Aaron G. Gingrande
                                                   Aaron G. Gingrande
                                                   Debra M. Walsh
                                                   Assistant U.S. Attorneys
                                                   53 Pleasant Street, 4th Floor
                                                   Concord, New Hampshire 03301
                                                   (603) 225-1552




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